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 8              IN THE UNITED STATES DISTRICT COURT FOR THE
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,  ) CR. No. S-06-357 LKK
                                )
12                  Plaintiff, ) Order Continuing Matter for Further
                                ) Status Conference
13             v.               )
                                )
14   FAUSTINO HERNANDEZ,        )
                                )
15                  Defendants. )
                                )
16                              )
                                )
17
18
19        This matter came before the court for status conference on
20   August 21, 2007.    The United States was represented by Assistant
21   United States Attorney Robert M. Twiss.       Defendant Hernandez was
22   represented by attorney Steve Bauer, Esq.
23         This matter was continued for further status hearing on
24   Wednesday, September 5, 2007 at 9:30 A.M.       Time is excluded to
25   and including September 5, 2007 due to needs of counsel to
26   prepare, Title 18, United States Code, Section 3161(h)(8)(B)(iv),
27   Local Code T4.   I find that the needs of counsel to prepare
28   outweigh the public interest in a trial within 70 days, and that
           Case 2:06-cr-00357-LKK Document 59 Filed 08/22/07 Page 2 of 2


 1   the interests of justice require a further exclusion of time.
 2   Dated: August 21, 2007
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